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UNITED STATES DISTRICT
COURT MIDDLE DISTRICT
OF PENNSYLVANIA

NOTICE

UNITED STATES OF AMERICA

Vv.

THOMAS TROTTA

TYPE OF CASE: FELONY _ CASE NO, 3:23-CR-127-1

time and place listed below:

TAKE NOTICE that a proceeding in this case has been SCHEDULED for the
PLACE: UNITED STATES DISTRICT COURT
COURTROOM: No. 1
MAX ROSENN U.S. COURTHOUSE
First Floor
197 South Main Street
Wilkes-Barre PA 18701

DATE AND TIME: June 15, 2023, at 3:00 p.m.

TYPE OF PROCEEDINGS: Initial Appearance and Arraignment

DATE: June 12, 20238

PETER J. WELSH, Clerk of Court
siMary Rose Schirra
Deputy Clerk

TO: HON. JOSEPH F. SAPORITO, JR., U.S. MAGISTRATE JUDGE
James Buchanan, AUSA
Joseph R. D’Andrea, Esquire

U.S. PROBATION
U.S. MARSHAL
COURT REPORTERS

